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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

BROIDY CAPITAL MANAGEMENT LLC, and
ELLIOTT BROIDY,
                                                      Civil Action No.: 1:19-cv-00150 (DLF)
                            Plaintiffs,

                    v.

NICOLAS D. MUZIN, JOSEPH ALLAHAM,
GREGORY HOWARD, and STONINGTON
STRATEGIES LLC,

                            Defendants.


                      DECLARATION OF JACOB GARDENER

    JACOB GARDENER, pursuant to 28 U.S.C. § 1746, declares as follows:

 1. My name is Jacob Gardener.

 2. I am of counsel at WALDEN MACHT & HARAN LLP, located at 250 Vesey Street, 27th

    Floor, New York, New York 10281, phone number (212) 335-2965.

 3. I am a member in good standing of the bars of the following jurisdictions:

        a. State of New York;

        b. U.S. District Court for the Eastern District of New York;

        c. U.S. District Court for the Southern District of New York;

        d. U.S. Court of Appeals for the Third Circuit.

 4. I have never been disciplined or sanctioned by any Court or Bar.

 5. I have reviewed and am familiar with the Local Rules of the U.S. District Court for the

    District of Columbia.

 6. I am not admitted to the District of Columbia Bar, nor do I practice law from an office in

    the District of Columbia.

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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Dated: November 10, 2021                                   ___________________________
                                                           Jacob Gardener
                                                           Walden Macht & Haran LLP
                                                           250 Vesey Street, 27th Floor
                                                           New York, New York 10281
                                                           Tel.: (212) 335-2965
                                                           Email: jgardener@wmhlaw.com
